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               4
                Entered on Docket
            ___________________________________________________________________
               5July 21, 2014
                     6   ALAN R. SMITH, ESQ. #1449
                         HOLLY E. ESTES, ESQ. #11797
                     7   Law Offices of Alan R. Smith
                         505 Ridge Street                                                                   ELECTRONICALLY LODGED
                     8   Reno, Nevada 89501                                                                      July 16, 2014
                         Telephone (775) 786-4579
                     9   Facsimile (775) 786-3066
                         Email: mail@asmithlaw.com
                 10      Attorney for Debtors
                         ANTHONY THOMAS and WENDI
                 11      THOMAS and AT EMERALD, LLC
                 12
                 13
                 14                                          UNITED STATES BANKRUPTCY COURT
                 15                                                          DISTRICT OF NEVADA
                 16                                                                      —ooOoo—
                 17      In Re:                                                                    Case No. BK-N-14-50333-BTB
                                                                                                   Case No. BK-N-14-50331-BTB
                 18      ANTHONY THOMAS and                                                        Chapter 11 Cases
                         WENDI THOMAS,
                 19                                                                                [Jointly Administered]
                 20      AT EMERALD, LLC,                                                          ORDER APPROVING STIPULATION
                                                                                                   TO CONTINUE HEARING ON US
                 21                                                                                TRUSTEE’S MOTION TO
                                                                                                   DESIGNATE CASE AS SMALL
                 22                            Debtors.                                            BUSINESS CASE
                 23                                                                                VACATE
                                                                                                   Old Hearing Date: July 30, 2014
                 24                                                                                Old Hearing Time: 2:00 p.m.
                 25                                                                                New Hearing Date: September 10, 2014
                                                                                                   New Hearing Time: 2:00 p.m.
                 26      ______________________________/
                 27                 The Court having considered the Stipulation To Continue Hearing On US Trustee’s
                 28      Motion To Designate Case As Small Business Case (the “Stipulation”) entered into between
  Law Offices of
 ALAN R. SMITH
 505 Ridge Street
Reno, Nevada 89501
 (775) 786-4579          H:\AT Emerald\Mot Desig Case\Ord Stip Cont Hrg Mot Desig 071614-rmb.wpd
                          Case 14-50333-gs                    Doc 133           Entered 07/21/14 11:17:26   Page 2 of 2



                     1   Debtor, AT EMERALD, LLC, by and through its counsel, Holly E. Estes, Esq., of the Law
                     2   Offices of Alan R. Smith, and the United States Trustee, by and through her counsel William B.
                     3   Cossitt, Esq., filed herein on July 16, 2014 as Doc. 120, and good cause appearing,
                     4              IT IS HEREBY ORDERED that the Stipulation is approved and the hearing currently
                     5   scheduled for July 30, 2014 at 2:00 p.m. shall be continued to September 10, 2014 at 2:00
                     6   p.m.
                     7              IT IS HEREBY FURTHER ORDERED that the hearing scheduled for July 30, 2014
                     8   at 2:00 p.m. shall be vacated.
                     9              IT IS SO ORDERED
                 10      PREPARED AND SUBMITTED BY:
                 11      LAW OFFICES OF ALAN R. SMITH
                 12      By:     /s/ Holly E. Estes
                           HOLLY E. ESTES, ESQ.
                 13        Attorney for Debtors
                 14
                 15                                                                            ###
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  Law Offices of
 ALAN R. SMITH
 505 Ridge Street
Reno, Nevada 89501
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